Case 1:14-cv-Ol482-RGA Document 169 Filed 11/01/16 Page 1 of 4 PagelD #: 13248

lN THE UN|TED STATES D|STR|CT COURT

FOR THE D|STR|CT OF DELAWARE

QUEST lNTEGR|TY USA, LLC,
Plaintiff,
v.

CLEAN HARBORS lNDUSTR|AL
SERV|CES, lNC.,

Defendant.

\_/\/\/\/\/\./\/\/\./\/

 

QUEST lNTEGR|TY USA, LLC,
Plaintiff,
v.
COKEBUSTERS USA, lNC.,

Defendant.

VV\/\_/VVVVV

Civ. No. 14-1482-SLR

Civ. No. 14-1483-SLR

MEMORANDUM ORDER

At Wilmington this tst day of November, 2016, having reviewed the papers

submitted in connection With the various disputes pending in the above captioned

litigation;

lT |S ORDERED that;

1. Motion to amend. The motion for leave to file Walker Process antitrust

counterclaims filed by defendant Cokebusters USA lnc. (“Cokebusters”) (D.l. 152) is

granted, as it Was timely filed and sufficiently pled. However, consistent With the court’s

Case 1:14-cv-01482-RGA Document 169 Filed 11/01/16 Page 2 of 4 PagelD #: 13249

practice, the antitrust counterclaims are hereby bifurcated, to be tried (if at all) after the
Federal Circuit has had the opportunity to review the merits of the patent litigation on
appeal. Any issues related to discovery shall be addressed at that time.

2. Motion for reconsideration. The motion for reconsideration filed by plaintiff
Quest lntegrity USA, LLC (“Quest”) (D.l. 202) is denied The purpose of a motion for
reconsideration is to “correct manifest errors of law or fact or to present newly
discovered evidence.” Max’s Seafood Café ex re/. Lou-Ann, /nc. v. Quinteros, 176 F.3d
669, 677 (3d Cir. 1999). A court should exercise its discretion to alter or amend its prior
decision only if the movant demonstrates one of the following: (a) a change in the
controlling law; (b) a need to correct a clear error of law or fact or to prevent manifest
injustice; or (c) availability of new evidence not available when the decision issued. See
id.

3. Quest complains that placing limits on the number of claims it can assert
through expert discovery and trial is prejudicial There can be no dispute at this
juncture, however, that a court has the authority “to reasonably limit both the number of
claim terms to be construed and the number of patent claims the parties may assert, ‘to
control the dispositions of the causes on its docket with economy of time and effort for
itself, for counsel, and for litigants.”’ Mas/mo Corp. v. Ph/`/ips E/ectron/'cs Non‘h America,
918 F. Supp. 2d 277, 282 (D. Del. 2013). The court concludes that, by the time the
claim limits were imposed (August 19, 2016), Quest had sufficient information to
choose representative claims: (a) fact discovery was substantially completed; (b) the

court’s claim construction order had issued; and (c) Quest initiated the litigation with a

Case 1:14-cv-01482-RGA Document 169 Filed 11/01/16 Page 3 of 4 PagelD #: 13250

preliminary injunction proceeding, giving the parties a substantial amount of information
at the outset. l\/loreover, Quest did not address, in either its papers or at the September
30, 2016 conference, the issue of how the limit of five claims imposed by the court has
prevented Quest from trying all of its representative claims.1 See /n re Katz./nteractive
Ca// Processing Patent Litigation, 639 F.3d 1303, 1309 (Fed. Cir. 2011). Without such
input from Quest, the court declines to find any prejudice in either the limits imposed or
the process followed.

4. October 26, 2016 emergency emai|. Quest complains that, while it is
complying with the above claim limits, defendants Cokebusters and Clean Harbors
industrial Services, lnc. (“Clean Harbors”) have proposed more than the allowed three
prior art references per claim. (Civ. No. 14-1482, D.l. 145; Civ. No. 14-1483, D.l. 194)
Unlike using a single reference (e.g., a patent) for purposes of proving anticipation,
Clean Harbors and Cokebusters are asserting anticipation by prior use/sales. The fact
that a single prior use/sale may require more than one document to prove its existence
and substance does not mean that defendants are relying on more than a single
allegedly anticipatory event. Therefore, so long as the events were timely disclosed,
and so long as the documents related to the events were vetted through discovery and
clearly relate to the single identified event, the court will not grant any relief at this time.

5. In camera review - representative redacted documents. Having reviewed

the exemplars (Civ. No. 14-1483, D.l. 257, D.l. 259), the court finds that the redactions

 

1Quest concedes that the patent at issue (the ‘874 patent) has numerous
redundant claims. Pursuant to the court’s August 19, 2016 order (Civ. No. 14-1482,
D.l. 145; Civ. No. 14-1483, D.l. 194), Quest has asserted three independent claims and
two dependent claims depending from two additional independent claims.

3

Case 1:14-cv-01482-RGA Document 169 Filed 11/01/16 Page 4 of 4 PagelD #: 13251

are consistent with its prior rulings regarding the attorney-client privilege and foreign
sales.

6. In camera review - Stinson Leonard L.L.P. documents. Exhibits 13 and
14 are protected by the attorney-client privilege Exhibit 12 is an affidavit executed by a
third party for submission to the Patent & Trademark Office (“PTO”) in connection with
the prosecution of the ‘874 patent. lt appears to the court that the affidavit was never
submitted to the PTO and was prepared by someone other than the affiant, presumably
the attorneys. Therefore, the court concludes that the affidavit need not be produced,
as it is protected by the work product doctrine as trial preparation materials, comparable
to a draft report or the facts and opinions held by an expert not expected to be called as

a witness at trial. See Fed. R. Civ. P. 26(b)(3)(A) and (4)(B) and (D).

MH»LM/

United States Fstrict Judge

